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                                  BUYK CORP.
                               BOARD RESOLUTION
                     SPECIAL MEETING OF BOARD OF DIRECTORS

The undersigned, being the Secretary of Buyk Corp., a Nevada corporation (the "Corporation"),
does hereby certify that at a video meeting of the Board of Directors of said corporation duly
called and held on March 14, 2022 at 10:00AM EST, a quorum was present. The following
members were represented at the board meeting and waived formal notice for the special
emergency meeting:

Viacheslav Bocharov - Present
Rodion Shishkov - Present
Vagan Khranyan - Present
Victor Orlovsky – Present, represented by Fedor Samoilov
Kirill Shishkov - Absent

WHEREAS, The Board of Directors of (the Corporation, pursuant to the Nevada General
Corporation Law (the "NGCL"), held a special meeting of directors on March 7 - 8, 2022;

WHEREAS, the directors of the Corporation, holding in the aggregate well in excess of a
majority of the outstanding shares of the Corporation, have, in consultation with the key
managers of the Corporation and retained legal advisors, evaluated the alternatives in connection
with a possible restructuring in view of the inability of the investors to further fund the ongoing
business of the Corporation, and have determined that the filing of a voluntary petition (the
"Petition") under chapter 11 of title 11 of the United States Code (the "Bankruptcy Code") is in
the best interests of the Corporation and

[WHEREAS, Fedor Samoilov and Vagan Khranyan have elected to abstain from voting on this
resolution citing both a conflict of interest and lack of adequate information to make an informed
decision].

WHEREAS, in connection with the special meeting, the Board of Directors adopted the
following resolution in their business judgment, which has not been modified or rescinded:

RESOLVED, that the Corporation, subject to satisfaction of the Bankruptcy Pre-Conditions
below, shall be, and hereby is, authorized to file a Petition for relief under the Bankruptcy Code,
in the United States Bankruptcy Court for the Southern District of New York (the "Bankruptcy
Court"), and perform any and all such acts as are reasonable, advisable, expedient, convenient,
proper or necessary to effect any of the foregoing, including, without limitation;

FURTHER RESOLVED, that the Corporation may only have the authority to file a Petition for
relief under the Bankruptcy Code, if and only if, the Corporation is able to:

    1.    Secure the Debtor in Possession Loan (“DIP Loan”) generally consistent with the
         attached Summary of Key Terms and Conditions through Legalist DIP GP, LLC;



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    2. Receive the Prepetition Draw;
    Use the Prepetition Draw to pay employment related liabilities of the Corporation to
    employees and agency hired couriers before other liabilities. (“Bankruptcy Pre-Conditions”);

FURTHER RESOLVED, that James Walker and Alexandre Agaian ( or either of them)
(Collectively “Authorized Employees”) shall be, and hereby are, authorized, directed and
empowered on behalf of, and in the name of, the Corporation to: (a) execute and verify the
Petition and all other ancillary documents, and cause the Petition to be filed with the Bankruptcy
Court and make or cause to be made prior to execution thereof any modifications to the Petition
or ancillary documents as either of the foregoing in their discretion, deem necessary or desirable
to carry out the intent and accomplish the purposes of these resolutions (such approval to be
conclusively established by the execution thereof by either of the foregoing); (b) execute, verify
and file or cause to be filed all petitions, schedules, statements, lists, motions, applications and
other papers or documents necessary or desirable in connection with the foregoing; and ( c)
execute and verify any and all other documents necessary or appropriate in connection therewith
or to administer the Corporation's chapter 11 case in such form or forms as any such Manager
may approve;

FURTHER RESOLVED, that the Authorized Employees shall be, and are, authorized, directed
and empowered to retain, on behalf of the Corporation, Akerman LLP, as bankruptcy counsel
and such additional professionals as in such individuals' judgment may be necessary in
connection with the Corporation's chapter 11 case and other related matters, on such terms as
such individuals shall approve;

FURTHER RESOLVED, that each Authorized Employees be, and they hereby are, authorized
and directed to employ any other professionals to assist the Corporation in carrying out its duties
under the Bankruptcy Code, and to take any and all actions to advance the Corporation's rights
and obligations; and in connection therewith, each of the Authorized Employees, with power of
delegation, are hereby authorized and directed to execute appropriate retention agreements, pay
appropriate retainers, and to cause to be filed appropriate applications for authority to retain the
services of any other professionals as necessary.

FURTHER RESOLVED, that each Authorized Employees be, and they hereby are, with power
of delegation, authorized, empowered and directed to execute and file all petitions, schedules,
motions, lists, applications, pleadings, and other papers and, in connection therewith, to employ
and retain all assistance by legal counsel, accountants, financial advisors, and other professionals
and to take and perform any and all further acts and deeds that each of the Authorized
Employees deem necessary, proper or desirable in connection with the Chapter 11 Cases, with a
view to the successful prosecution of such case.

FURTHER RESOLVED, that, in connection with the commencement of the Chapter 11 Cases,
each of the Authorized Employee, is, authorized, empowered, and directed to negotiate, execute,
and deliver any and all agreements, instruments, or documents, by or on behalf of the
Corporation, necessary to implement a DIP Loan, as well as any additional or further agreements
for the use of funds in connection with the Corporation's Chapter 11 Case, which agreement(s)
may require the Corporation to grant liens to the Corporation's lenders and such other agreement,



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instrument, or document to be executed and delivered in connection therewith, all with such
changes therein and additions thereto as any Authorized Employees approves, such approval to
be conclusively evidenced by the taking of such action or by the execution and delivery thereof.

FURTHER RESOLVED, that the law firms of Akerman LLP and any additional professionals
selected by the Authorized Employees shall be, and hereby are, authorized, empowered and
directed to represent the Corporation, as debtor and debtor in possession, in connection with any
chapter 11 case commenced by or against it under the Bankruptcy Code;

FURTHER RESOLVED, that all members of the Board of Directors of the Corporation have
received sufficient notice of the actions and transactions relating to the matters by the foregoing
resolutions, as may be required by the organizational documents of the Corporation or hereby
waive any right to have received such notice: and


FURTHER RESOLVED, that all lawful acts or actions to be taken by any officer or employee of
the Corporation in connection with the implementation of these resolutions in all respects are
hereby approved.



__________________________________
Alexandre Agaian, Secretary




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         Annex A _ Summary of Key Terms and Conditions through Legalist DIP GP, LLC




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                                                              March 4, 2022
                                            Summary of Key Terms of and Conditions for
                                                   TERM LOAN FACILITY
    Buyk Corp.
    c/o: Mark Lichtenstein, Esq.
    Akerman LLP
    mark.lichtenstein@akerman.com
    CC: Heather Davey
    The following summarizes the key terms (the “Term Sheet”) on which certain investment fund(s) for which Legalist DIP
    GP, LLC serves as general partner (the “Lender”) are willing to extend pre- and postpetition financing (the “Loans”) to
    Buyk Corp. (the “Debtor”) in connection with the chapter 11 case it intends to file in the United States Bankruptcy Court
    for the Southern District of New York (the “Bankruptcy Court”), in an aggregate amount of $6,500,000 (the
    “Commitment”).
    Prior to satisfaction of the Conditions Precedent to funding, this Term Sheet shall be confidential, non-binding, for
    discussion purposes only, and not a commitment to lend.

        Overview          The Loans shall be made available to the Debtor in the aggregate amount of the Commitment for the
                          following uses:
                          1. Payment of the salaries and/or compensation of all of the employees and couriers (who are
                             independent contractors), it being understood that the first $5 million draw shall be used
                             exclusively for this purpose.
                          2. Legal fees of Akerman LLP;
                          3. Operating/wind-down expenses of the Debtor, including post-petition salaries of certain key
                             employees, accountant and/or financial advisor, auctioneers, etc., as per DIP Budget; and
                          4. Other agreed-on uses.

        Conditions        The Lender will make available Loans in multiple draws, provided no event of default shall (x) have
        Precedent to      occurred and be continuing or (y) be reasonably likely to result therefrom, upon (such date, the
        Draws             “Effective Date”):
                          Prepetition Draw (Up to $5.0 Million)
                          1. The Lender’s completion, to its own satisfaction, of any remaining due diligence;
                          2. The Debtor’s delivery of a fully executed secured promissory note in Approved Form;1 and
                          3. Execution of such related security documents as Lender may request,
                          4. Payment of the proceeds of such pre-petition draw in accordance with section 1 of "Overview"
                             above.
                          Postpetition Draw (Balance of Commitment)
                          1. Commencement of the Debtor’s chapter 11 case, no later than March 15, 2022;
                          2. The Debtor’s delivery of a fully executed post-petition credit agreement in Approved Form; and
                          3. The Bankruptcy Court’s entry of a final financing order approving the Loans (including the roll-
                             up of all prepetition advances by Lender) and otherwise in Approved Form (the “DIP Order”),
                             which remains in full force and effect.

        Interest;         The outstanding principal amount of the Loans (together with all other due and payable Obligations
        Default           (defined below)) shall accrue paid-in-kind interest from the Effective Date at the U.S. prime rate
        Interest;         (subject to a 4.00% floor) plus 11.75% per year. While an event of default has occurred and is
        Undrawn Line      continuing, such amounts shall accrue an additional 4.75% in interest per year. If the Loans are not
        Fee               borrowed in full in a single draw, any undrawn portion of the Commitment shall accrue an “Undrawn



    1
          “Approved Form” means in form and substance acceptable to (as evidenced by the prior written consent of) the Lender.

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                           Line Fee” from the Effective Date at 4.75% per year. All such interest and fees shall accrue and be
                           compounded and capitalized monthly and be due and payable in cash upon the Maturity Date.

        Other Costs of     A onetime “Commitment Fee” of 2.75% of the Commitment and “Underwriting Fee” of 1.75% of
        Borrowing          the Commitment shall be fully and irrevocably earned upon the Effective Date. In addition, a
                           “Monitoring Fee” of 1.75% of the Commitment per year shall accrue and be compounded and
                           capitalized monthly. All such fees shall be due and payable in cash upon the Maturity Date.

        Prepayments        The Loans shall be mandatorily repaid from, and within 10 days of the Debtor’s receipt of, proceeds
                           from any sale or other disposition of the Collateral (defined below); provided that any such disposition
                           shall occur in Approved Form. Any repayment required to be made within four months of the Effective
                           Date shall be accompanied by a “Makewhole Fee” of 4.75% of the amount required to be repaid. The
                           Loans may be voluntarily repaid prior to the Maturity Date beginning four months after the Effective
                           Date; provided that voluntary repayments made within four months of the Effective Date shall be
                           subject to a Makewhole Fee.

        Maturity Date      The Loans shall mature, and all unpaid Obligations shall be due and payable, upon the earliest (the
                           “Maturity Date”) of (i) six months after the Effective Date, (ii) the Debtor’s exit from bankruptcy,
                           and (iii) acceleration of the Loans following an event of default.

        Prepetition        Prepetition, the Obligations shall be secured by first-priority liens on all Collateral.
        Liens;
                           Postpetition, subject to a customary carveout for estate professional fees and other administrative
        Superpriority
                           expenses to be addressed in the DIP Budget all Obligations (expressly including all prepetition
        Claims; DIP
                           advances by Lender) shall constitute Lender Claims,2 payable from the Collateral and all other property
        Liens;
                           of the Debtor and/or its estate.
        Collateral
                           The DIP Order shall grant the Lender automatically perfected security interests (collectively, the “DIP
                           Liens”), senior to all pre- and postpetition liens, on all present or future estate property (collectively,
                           the “Collateral”).

        Break-Up Fee       In the event that, after execution hereof, the transaction described herein should not be timely effected
                           due to the fault of the Debtor, the Lender shall immediately (and without any further action or notice)
                           be entitled to a fee of 4.75% of the Commitment (the “Break-Up Fee”), which amount shall be (1)
                           prepetition, secured by a first-priority lien on all Collateral and (2) post-petition, be entitled to priority
                           as set forth below.3

        Lender             The Debtor shall pay, no later than the Maturity Date, all reasonable costs and expenses of the Lender
        Expenses;          incurred in connection with the Loans (collectively, the “Lender Expenses”). The Lender Expenses,
        Other              together with all principal of, and interest and fees on, the Loans, together with any other amount owed
        Obligations        by the Debtor in connection therewith shall constitute “Obligations” secured by the prepetition liens
                           and/or DIP Liens.

        Miscellaneous      Customary and as reasonably required by the Lender, including (as applicable):
        Provisions
                           ●    Debtor’s representations, warranties, and covenants (including budget and reporting);
                           ●    Stay waiver (notwithstanding Bankruptcy Rule 6004);
                           ●    Indemnity of Lender and its affiliates;


    2
          “Lender Claims” means “superpriority” administrative-expense claims with priority over (i) all other administrative-expense
          claims, expenses, and costs permitted by, described in, or entitled to priority under the Bankruptcy Code and (ii) all other unsecured
          claims against the Debtor.
    3
          The Debtor acknowledges that the Break-Up Fee is intended to be an actual, necessary cost and/or expense of preserving its estate
          and, thus, entitled to priority under Bankruptcy Code section 503(b). The Break-Up Fee, together with all costs of collection, shall
          be due and payable (if applicable) from and after execution of this Term Sheet by the Debtor, irrespective of the occurrence of the
          Effective Date so long as the Effective Date does not occur because of the actions of the Debtor and not due to the fault of the
          Lender.
                                                                         2
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                        ●   Section 364(e) “good faith” findings in favor of the Lender;
                        ●   Postpetition carveout (2.50% of the Loans post-default);
                        ●   Events of default and Lender’s rights and remedies; and
                        ●   Governing Law (Bankruptcy Code / New York State).




                                                                 3
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    This Term Sheet shall expire and be without further effect if not signed by both parties by March 7, 2022.
    Accepted and agreed to, as of the first date written above:

     DEBTOR:                                                          LENDER:
     BUYK CORP.                                                       LEGALIST DIP GP, LLC, as General Partner
     By:                                                              By:
     Name: James Walker                                               Name: Christian G.B. Haigh
     Title: CEO                                                       Title: Managing Member




                                                                  4
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                                                               United States Bankruptcy Court
                                                                     Southern District of New York
 In re      Buyk Corp.                                                                                    Case No.
                                                                                   Debtor(s)              Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Buyk Corp. in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of
the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 Rodion Shishkov
 Groveside Herons Ghyll
 East Sussex TN22 4BY
 United Kingdom
 Viacheslav Bocharov
 9/2 Pokrovka str
 Apt. 1 Moscow
 Russia 105062




    None [Check if applicable]




 March 17, 2022                                                       /s/ Mark S. Lichtenstein
 Date                                                                 Mark S. Lichtenstein
                                                                      Signature of Attorney or Litigant
                                                                      Counsel for Buyk Corp.
                                                                      Akerman LLP
                                                                      1251 Avenue of the Americas
                                                                      37th Floor
                                                                      New York, NY 10020
                                                                      212-259-8707 Fax:212-880-8965
                                                                      mark.lichtenstein@akerman.com




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 Fill in this information to identify the case:
 Debtor name Buyk Corp.
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF NEW                                                                                     Check if this is an
                                                YORK
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Brex, Inc.                                                      Credit Card                                                                                            $313,000.00
 12832 Frontrunner
 Blvd.
 Suite 500
 Draper, UT 84020
 Citrus                                                          Convertible                                                                                        $10,000,000.00
 Level 1 Palm Grove                                              Promissory Note
 House
 Cay, Road Town,
 Tortola
 British Virgin Island
 Fisher Electrical                                               Trade debt                                                                                             $324,683.00
 Contracting
 620 East 102nd St.
 Brooklyn, NY 11236
 FRV                                                             Convertible                                                                                          $9,000,000.00
 Winward 3                                                       Promissory Note
 P.O. Box 1350
 Grand Cayman
 KY1-1081
 Grayskies Ltd.                                                  Convertible                                                                                        $15,000,000.00
 P.O. Box 3321                                                   Promissory Note
 Tortola
 British Virgin Island
 Levan Nazarov                                                   Convertible                                                                                            $500,000.00
 plot 21 settlement of                                           Promissory Note
 Uspenskoye
 recreation centre
 Odintsovo Moscow
 LVL1 Investments                                                Convertible                                                                                          $1,000,000.00
 Ltd                                                             Promissory Note
 c/o Koumandaris &
 Spyrou
 Fayza Court, Suite
 205
 3036 Limassol
 Cyprus


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Buyk Corp.                                                                                         Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Malamet SDN. BHD.                                               Convertible                                                                                          $1,000,000.00
 16a Jalan Tun Mohd                                              Promissory Note
 Fuad Taman
 60000 Kuala Lumpur
 W.P.
 Kuala Lumpur
 Malaysia
 Martin Avetisyan                                                Convertible                                                                                            $500,000.00
 A-625, 673-AL                                                   Promissory Note
 Barsha South Third
 Dubai UAE
 MVOF L.P.                                                       Convertible                                                                                        $14,500,000.00
 3rd FL Genesis Bldg                                             Promissory Note
 Genesis Close
 George Town
 Grand Cayman
 KY1-1106
 Oleg Gordienko                                                  Convertible                                                                                            $190,000.00
 115184, Moscow,                                                 Promissory Note
 Pyatnitskaya.,
 h53/18 bldg. 1, app.
 41
 Pinkback LLC                                                    Convertible                                                                                          $6,000,000.00
 16192 Coastal                                                   Promissory Note
 Highway Lewes
 Lewes, DE 19958
 Pro-Motion Limited                                              Trade debt                                                                                           $1,000,000.00
 Unit E. 26/F CNT
 Tower
 338 Hennessy Road
 Wanchai, Hong
 Kong
 Roger & Sons Inc                                                Trade debt                                                                                             $374,756.00
 268 Bowery St.
 New York, NY 10012
 Rusian Balbekov                                                 Convertible                                                                                            $200,000.00
 413100, Saratov                                                 Promissory Note
 region
 Engles, Chapaeva
 str 43
 S16, LP                                                         Convertible                                                                                            $410,000.00
 2310 Bowdoin St.                                                Promissory Note
 ATTN: Leo Batalov
 Palo Alto, CA 94306
 SBT Venture Fund II,                                            Convertible                                                                                          $5,000,000.00
 L.P.                                                            Promissory Note
 P.O. Box 1350
 Gramd Cayman
 KY1-1108 Cayman
 Islands




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    Buyk Corp.                                                                                         Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Sienia Construction,                                            Trade debt                                                                                           $1,771,387.00
 Inc.
 3805 Broadway
 Suite 200
 Astoria, NY 11103
 Smart Retail, LLC                                               Loan                                                                                               $11,000,000.00
 Sedova St. 11 litter
 A
 6th FL Premises 627
 192019 St.
 Petersburg
 Temur Turdibekov                                                Convertible                                                                                            $200,000.00
 119602, Moscow                                                  Promissory Note
 Olimpic village
 Michurinsky
 prospekt
 h. 8, app. 100




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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 Fill in this information to identify the case:

 Debtor name         Buyk Corp.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          March 17, 2022                          X /s/ James Walker
                                                                       Signature of individual signing on behalf of debtor

                                                                       James Walker
                                                                       Printed name

                                                                       CEO
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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